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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
JANSSEN BIOTECH, INC.,                                 )
                Plaintiff,                             )
                                                       )      Case No. 1:17-cv-11008-MLW
                                                       )
v.                                                     )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.                                          )
                  Defendants.                          )
                                                       )

                     JANSSEN’S MOTION TO SEAL EXHIBITS A-F
              TO ITS MOTION TO EXCLUDE REBECCA BETENSKY, PH.D.

       Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal Exhibits A-F to

its Motion to Exclude Rebecca Betensky, Ph.D. In support of this motion, Plaintiff states as

follows:

       1. Janssen intends to file a Motion to Exclude the Testimony of Dr. Betensky today.

       2. Exhibits A-F to this motion include the expert reports and deposition transcripts of

             Dr. Michael Butler, Dr. Philip Lavin, Dr. Michael Glacken, and Dr. Rebecca

             Betensky which have been designated as confidential under the parties’ protective

             order entered in this case. The exhibits contain reference to, and discussion of,

             certain confidential information that may be considered proprietary by Plaintiffs and

             Defendants. Accordingly, Janssen requests that these exhibits be filed with the Court

             under seal.

       3. The granting of this motion will not prejudice any party.

       4. The Defendants assent to the relief requested.
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Dated: May 4, 2018                    Respectfully Submitted,
                                      JANSSEN BIOTECH, INC.

                                      By its attorneys,

                                      /s/ Alison C. Casey

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                                      Attorneys for Janssen Biotech, Inc.
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                           LOCAL RULES 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was that the defendants assent to the relief
requested.

                                                      /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 4, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                      /s/ Alison C. Casey
